Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 1 of 13 PageID# 9431




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




   Arkadiy Bangiyev,

                          Petitioner,                         Criminal Action No. I:14-cr-206
                                                              Civil Action No. l:16-cv-564
                                                              Hon. Liam O'Grady
   United States of America


                          Respondent.


                                  MEMORANDUM OPINION


       This matter comes before the Court on pro se Petitioner Arkadiy Bangiyev's Motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Dkt. No. 781) and his

Motion requesting bail release pending adjudication of tlie aforementioned motion to amend his

sentence. (Dkt. No. 812). Mr. Bangiyev petitions the court to vacate or amend his sentence on

the grounds that it was excessive relative to his co-defendants and his role in the criminal

conspiracy for which he pleaded guilty. Mr. Bangiyev contends that the sentencing discrepancy

was caused by the ineffectiveness of his then counsel. Mr. Bangiyev also petitions the court to

release him on bail pending the resolution of the Motion. For the reasons stated below, the

Motions are hereby DENIED WITH PREJUDICE.

                                          1. Background

       On August 7, 2014, Mr. Bangiyev, and numerous co-defendants, were indicted for

participation in a RICO conspiracy, in violation of 18U.S.C. § 1962(d) and conspiracy to

commit multiple counterfeiting offenses in violation of 18 U.S.C. §§ 371, 471,427, 473, and

474. Dkt. No. 203. The indictment alleged that Mr. Bangiyev participated in an international

conspiracy and criminal enterprise to counterfeitUnited States currency from 2004 to 2014. Id.
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 2 of 13 PageID# 9432
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 3 of 13 PageID# 9433
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 4 of 13 PageID# 9434
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 5 of 13 PageID# 9435
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 6 of 13 PageID# 9436
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 7 of 13 PageID# 9437
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 8 of 13 PageID# 9438
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 9 of 13 PageID# 9439
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 10 of 13 PageID# 9440
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 11 of 13 PageID# 9441
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 12 of 13 PageID# 9442
Case 1:14-cr-00206-LO-IDD Document 844 Filed 05/16/17 Page 13 of 13 PageID# 9443
